Wen@§a@aS-So?,ao-hdhl?» Doc 15 Filed 02/20/13 Emered 02/20/13 09:57:46 PagP§g_Legf%B

Date Description Deposits/Credits Withdrawa|s/Debits
Categb|_',y:__.,,,., _ . ,, .. _, J_ , 4 ,
Direct Deposits
j " MWFAIRCLOTH1N<;PAYROLL093017 `
09/29/17 41114763 0015 PINEDA, ZULMA C $826`99
Details
Category:

Direct Deposits

" M\/`v F/§IF£¢L<§+H"`:NE bA§éBLL'bgis`ié" " " "

09/15/17 41114763 0015 PINEDA, zuLMA C $826'99
Details
Category:

Direct Deposits

Totals $9,579.34 $0.00
Back to top
First
Previous
Next

*Account Disclosures
Deposit products offered by We\|s Fargo Bank, N.A. Member FDIC.

@ Equa| Housing Lender

httr)s ://connect.Secure.Wellsfargo.c0m/accountS/inquiry/Summary/default?_X=9MXklaJPdB . .. 2/ 1 0/201 8

Well€HS@&S-SOSSO-hdhl?> DOC 15 Filed 02/20/18

Date Description
Details
Category:

Direct Deposits

12/29/17

41114763 0015 PINEDA, ZULMA C

*Details”

Category:
Direct Deposits

12/15/17

41114763 0015 PINEDA, ZULMA C

Details
Category:
Direct Deposits

" MW "F'AI“F§ELC¥H“:N¢‘ PAYROLL 115617'
41114763 0015 PINEDA, zuLMA c
Details

11/30/17

Category:
Direct Deposits

11/15/17 41114763 0015 PINEDA, zuLMA C
Details

Category:
Direct Deposits

10/31/17 MW FAIRCLOTH INC PAYROLL 103`117'
41114763 0015 PINEDA, ZULMA C

Details

Category: 4
Direct Deposits

10/13/17 Mvv FAIRCLQTH INC PAYROLL 101517
41114763 0015 PINEDA, zuLMA c
Details

Totals

MW FAIRCLOTH INC PAYROLL 123117

$9,579.34

Emered 02/20/13 09:57:46 Paé)€gze§f%m

Deposits/Credits Withdrawals/ Debits

$461.75

` MW FAIRCLOTH INC PAYROLL 121517

$826.99

$919.81

MW FAIRCLGTH INC PAYROLL 111517

$1,012.63

$1,105.45

$919.81

$0.00

https://connect.secure.Wellsfargo.com/accounts/inquiry/Summary/default?_x=9MXk1aJPdB . .. 2/ 1 0/201 8

1 f3
W@Ué§§ég‘£s- 30330- hdhla Doc 15 Filed 02/20/13 Emered 02/20/13 09: 57: 46 PagPe aeon

 

EVERYDAY
CHECKING $1,240.09
_.,9860 _ Available balance

Activity Summary

Current posted balance $1, 240. 09
Pending withdrawals/debits n A. 71 w v § H $0. 00
Pending deposits/credits l j …r 7 1 w $0.00
Avai|able balance 7 7 j w 7 b »7$7711.,24.0.079:

l\/lonthly Service Fee Summary |Deblt Card Activity

Activity

First
Previous
Next

Date Description Deposits/Credits Withdrawals/Debits
Pending Transactions b q 7 w d n l 7
No penciing transactions nqeet your search criteria Please try again.
Posted Transactlons

lVlVl/ FAIRCLOTH Il\lC PAY§OLL 013118

01/31/18 41114763 0015 PINEDA, zuLMA c $839'30

Details
Category:
Direct Deposits

MW FAIRCLOTH INC PAYROLL 011518

01/12/18 '41114763 0015 PINEDA, zul_MA c

$1,012.63

Details

Category:
Direct Deposits

MW FAIRcLoTH lNc PAYRoLL 123117 y 1 ' 1

12/29/17 41114763 0015 PINEDA, zULMA c $826'99

Totals $9,579.34 $0.00

https ://connect. Secure.wellsfargo.com/acoountS/inquiry/Summa;ry/default?_X=9l\/kalaJPdB. .. 2/1 0/201 8

